                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TENNESSEE
                            AT KNOXVILLE

    NANCY BRACKETT,                          )
                                             )     Case No.: 3:15-cv-24
                 Plaintiff,                  )
                                             )     NOTICE OF SETTLEMENT
    v.                                       )
                                             )
    STELLAR RECOVERY, INC.                   )
                                             )
                 Defendant.                  )



                              NOTICE OF SETTLEMENT


          COMES NOW Plaintiff and Defendant, by and through their

    undersigned counsel, and hereby informs the Court that a settlement of the

    present matter has been reached as to all claims of plaintiff, Nancy Brackett,

    against defendant, Stellar Recovery, Inc.


          The parties therefore request that this Honorable Court vacate all dates

    currently set on calendar for the present matter and give the parties 120 (one-

    hundred twenty) days to file the necessary dismissal papers.


    Respectfully submitted, July 22, 2016.

                                             /s/ Justin A. Brackett
                                             Justin A. Brackett, (#024326)




Case 3:15-cv-00024-PLR-CCS Document 50 Filed 07/22/16 Page 1 of 2 PageID #: 499
                                            Attorney for Plaintiff
                                            1888 Kalakaua Avenue, Suite C-312
                                            Honolulu, HI 96815
                                            (808)377-6778
                                            justinbrackettlaw@gmail.com

                                            Attorney for Plaintiff

                                            /s/ Alison N. Emery
                                            Alison N. Emery Pro Hac Vice
                                            Assurance Law Group
                                            3731 Hendricks Avenue
                                            Jacksonville, FL 32207
                                            904-497-4904 (phone)
                                            904-458-8979 (fax)
                                            alison@assurancelawgroup.com

                                            Attorney for Defendant


                            CERTIFICATE OF SERVICE

    I hereby certify that on the date first stated below, or in compliance with the
    rules of this Court, I did serve a true and exact copy of the foregoing
    document upon the following:

    Attorneys for Defendant:

    Alison Emery                            alison@assurancelawgroup.com
    Benjamin Hutnick                        BHutnick@bermanrabin.com

    DATED: Honolulu, Hawaii; July 22, 2016.

                                            /s/ Justin A. Brackett
                                            Justin A. Brackett, (#024326)
                                            Attorney for Plaintiff
    	  




Case 3:15-cv-00024-PLR-CCS Document 50 Filed 07/22/16 Page 2 of 2 PageID #: 500
